       Case 2:16-cv-02011-GMN-PAL Document 164
                                           163 Filed 01/29/19
                                                     01/28/19 Page 1 of 4




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13                                 UNITED STATES DISTRICT COURT

14                                        DISTRICT OF NEVADA

15   BROOK M. HURD, GERALDINE C. HURD,                     Case No. 2:16-cv-02011-GMN-PAL
     and M.H., a minor, by and through her guardian
16   ad litem, BROOK M. HURD; LUIS O.
     VILLALOBOS; OLIVIA N. ESPINOZA;                       STIPULATION AND [PROPOSED]
17   L.M.V., a minor, by and through his guardian ad       ORDER EXTENDING SETTLEMENT
     litem, OLIVIA N. ESPINOZA; ZEKROLLAH                  RELATED DEADLINES
18   SANAEI, ELHAM EGHDAMIAN; and S.S., a
19   minor, by and through his guardian ad litem,
                                                           [FIRST REQUEST]
     ZEKROLLAH SANAEI,
20
                            Plaintiffs,
21   vs.

22   CLARK COUNTY SCHOOL DISTRICT;
     JAMES P. DORAN; and SHAWN PAQUETTE,
23
                            Defendants.
24

25          Plaintiffs, BROOK M. HURD, GERALDINE C. HURD, and M.H., a minor, by and through
26   her guardian ad litem, BROOK M. HURD; LUIS O. VILLALOBOS; OLIVIA N. ESPINOZA; L.M.V.,
27   a minor, by and through his guardian ad litem, OLIVIA N. ESPINOZA; ZEKROLLAH SANAEI,
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                                                       1
     STIPULATION AND ORDER FOR EXTENSION                                     2:16-cv-02011-GMN-PAL
     OF SETTLEMENT DEADLINES
       Case 2:16-cv-02011-GMN-PAL Document 164
                                           163 Filed 01/29/19
                                                     01/28/19 Page 2 of 4




1    ELHAM EGHDAMIAN; and S.S., a minor, by and through his guardian ad litem, ZEKROLLAH

2    SANAEI, and Defendant, Clark County School District (“CCSD”) (collectively, the “Parties”), by and

3    through its undersigned counsel of record, hereby stipulate and agree as follows:

4           IT IS HEREBY STIPULATED by and between the parties to the above-entitled action as

5    follows:

6           1.      Subject to approval by the CCSD Board, the parties reached an agreement to settle

7     the above matter at a settlement conference on November 8, 2018.

8           2.      On November 14, 2018, the Court issued a Minute Order setting forth the terms of

9     that agreement. The agreement provides that the plaintiffs shall file a petition for compromise of

10    the minors’claims within 30 days of the School Board’s approval of the proposed settlement. In

11    addition, Plaintiffs are to file an application for attorneys’fees and costs within 30 days of the

12    Board’s approval if the settlement is approved.

13          3.      The parties held a status conference on January 16, 2019. At that time, the parties

14    indicated that the CCSD Board would consider the settlement on January 24, 2019.

15          4.      The court’s Minutes of Proceedings (Document 162) directs the parties to file a

16    stipulation to dismiss by January 30, 2019 if all parties have executed the settlement agreement.

17    It further directed the Plaintiffs to file a motion to enforce the settlement by January 30, 2019 if

18    Defendant Doran is unwilling to sign the agreement on terms memorialized in chambers.

19          5.      Due to unforeseen circumstances, the CCSD Board will consider the proposed
20    settlement during its meeting on February 14, 2019 instead of the January 24, 2019 meeting as

21    originally anticipated.   Counsel for Plaintiffs and CCSD have agreed on the terms of the

22    settlement agreement and on January 21, 2019, counsel for Plaintiffs sent CCSD copies of the

23    settlement agreement and release executed by all Plaintiffs and by plaintiffs’counsel.

24          6.      Attorneys for the Plaintiffs and Defendant Doran have now reached agreement on

25    the terms of the settlement agreement and no motion to enforce the agreement will be necessary.

26          7.      The case cannot be dismissed until the Court rules on Plaintiffs petitions to approve

27    the minors’compromises and application for attorney’s fees and costs. Therefore, the parties

28    request that the deadline to file a stipulation for dismissal be extended to 30 days after the approval
                                                           2
     STIPULATION AND ORDER FOR EXTENSION                                            2:16-cv-02011-GMN-PAL
     OF SETTLEMENT DEADLINES
      Case 2:16-cv-02011-GMN-PAL Document 164
                                          163 Filed 01/29/19
                                                    01/28/19 Page 3 of 4




1     of either the petition for minors’compromises or the application for fees and costs, whichever is

2     later.

3              8.   In addition, the parties request that a status check be scheduled after February 14,

4     2019.

5    DATED this 28th day of January, 2019.                 DATED this 288th day of January , 2019.
6
     GREENBERG TRAURIG, LLP                                LAW OFFICES OF PETER ALFERT, PC
7
         /s/ Kara B. Hendricks                                   /s/ Peter W. Alfert
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16                                                      LAW OFFICES OF TODD BOLEY
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17                                                      Alameda, CA 94501
18
                                                        Attorneys for Plaintiffs
19
     DATED this 28th day of January, 2019.
20
     HATFIELD & ASSOCIATES
21
     /s/   Trevor J. Hatfield
22   TREVOR J. HATFIELD, ESQ.
     Nevada Bar No. TPTP
23
     Attorneys for Defendant James Doran
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                                                       3
     STIPULATION AND ORDER FOR EXTENSION                                           2:16-cv-02011-GMN-PAL
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       Case 2:16-cv-02011-GMN-PAL Document 164
                                           163 Filed 01/29/19
                                                     01/28/19 Page 4 of 4




1                                                 ORDER

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3           The deadline for dismissal is extended to 30 days after the approval of either the petition for

4    minors’
           compromises or the application for fees and costs, whichever is later.

5           A status check is scheduled for 1:45 p.m. February 19, 2019, in Courtroom 3B.
6    IT IS SO ORDERED:
7            January 29, 2019
     Dated: ____________________
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                                                      _______________________________________
9                                                     UNITED STATES MAGISTRATE JUDGE
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     STIPULATION AND ORDER FOR EXTENSION                                        2:16-cv-02011-GMN-PAL
     OF SETTLEMENT DEADLINES
